                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        GREENEVILLE


   B.P., H.A., and S.H, individually, and on
   behalf of all others similarly situated,
                                                          ]
          Plaintiffs,                                     ]       No.: 2:23-cv-00071-TRM-JEM
                                                          ]
   v.                                                     ]       PLAINTIFFS’ DEMAND
                                                          ]       JURY TRIAL
   CITY OF JOHNSON CITY, TN., et al.,                     ]
                                                          ]
          Defendants.                                     ]



             ANSWER OF THE CITY OF JOHNSON CITY, TENNESSEE,
        KARL TURNER, IN HIS INDIVIDUAL AND OFFICIAL CAPACITIES, 1
   CAPTAIN KEVIN PETERS, IN HIS OFFICIAL CAPACITY, 1 INVESTIGATOR TOMA
     SPARKS, IN HIS OFFICIAL CAPACITY,1 JUSTIN JENKINS, IN HIS OFFICIAL
      CAPACITY,1 JEFF LEGAULT IN HIS OFFICIAL CAPACITY1, AND BRADY
    HIGGINS, IN HIS OFFICIAL CAPACITY1 TO PLAINTIFFS’ SECOND AMENDED
                             CLASS COMPLAINT

          Come now the Defendants, City of Johnson City, Tennessee (“City” or “Johnson City”),

   Karl Turner, in his individual and in his official capacities (“Chief Turner”)1, Captain Kevin Peters

   (“Captain Peters”), in his official capacity1, Investigator Toma Sparks (“Investigator Sparks”) in

   his official capacity1, Investigator Justin Jenkins (“Investigator Jenkins”), in his official capacity1,

   Investigator Jeff LeGault (“Investigator LeGault”), his official capacity1, and Investigator Brady

   Higgins (“Investigator Higgins”), in his official capacity1, and in response the Second Amended

   Class Complaint filed against them answer as follows:




   1
     Official capacity claims are the functional equivalent of claims against the municipality and
   reflect a redundant and superfluous pleading subject to dismissal as a matter of law. Kentucky v.
   Graham, 473 U.S. 159, 165-166 (1985).


                                                      1

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                                            FIRST DEFENSE

          The official capacity Second Amended Class Complaint allegations against Chief Turner,

   Captain Peters, Investigator Sparks, Investigator Jenkins, Investigator LeGault, and Investigator

   Higgins are redundant and superfluous claims since the City of Johnson City is a named party and

   such claims are subject to dismissal as a matter of law.

                                          SECOND DEFENSE

          The federal and state law claims of all Plaintiffs are time barred by the applicable statute

   of limitations. Tenn. Code Ann. § 28-3-104(a)(1); and § 29-20- 305(b).

                                            THIRD DEFENSE

          The Plaintiffs’ substantive due process claims are subject to dismissal as a matter of law

   since the Plaintiffs have alleged violations of explicit constitutional rights available as their source

   of protection such that their substantive due process claim is subsumed into their more

   particularized constitutional claims. Handy-Clay v. City of Memphis, Tenn., 695 F.3d 531 (6th

   Cir. 2012).

                                          FOURTH DEFENSE

          Any allegation expressly or impliedly asserting a conspiracy fails to state a claim due to a

   lack of specificity and meeting the requirements of pleading a civil conspiracy. Alsup v. Int’l Union

   of Bricklayers & Allied Craftsmen of Toledo, Ohio, Local Union No. 3, 1990 WL 67375, at *4 (6th

   Cir. May 22, 1990) (affirming dismissal of complaint for “failure to allege with particularity the

   necessary elements of conspiracy.”).

                                            FIFTH DEFENSE

          The Intracorporate Conspiracy Doctrine is affirmatively asserted as a bar to some or all of

   any conspiracy claims expressly or impliedly asserted.



                                                      2

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                                           SIXTH DEFENSE

          It is affirmatively asserted that the Plaintiffs are without standing to sue the Defendants for

   alleged failure to prosecute or investigate an assailant.

                                         SEVENTH DEFENSE

          Karl Turner, in his individual capacity, asserts his entitlement to dismissal as to all claims

   against him, with prejudice, on the basis of the doctrine of qualified immunity.

                                          EIGHTH DEFENSE

          Plaintiffs’ allegations and assertions pursuant to 18 USC § 1591 fail to state a claim for

   which relief can be granted. It is specifically averred that these allegations are specious and

   frivolous and are without a good faith basis.

                                           NINTH DEFENSE

          It is averred that the Plaintiffs lack standing to bring a claim, pursuant to 15 USC § 1591,

   et seq. the Defendants’ conduct cannot, in any way, constitute participation in a sex trafficking

   venture, or conspiracy, by virtue of any theory of law, whatsoever. It is averred that these claims

   should be summarily dismissed.

                                           TENTH DEFENSE

          All limitations and immunities contained within Tennessee’s Governmental Tort Liability

   Act (“GTLA”) are affirmatively asserted as to each Plaintiffs’ claims against these Defendants,

   including but not limited to the limitations identified in Tenn. Code Ann. § 29-20-201, § 29-20-

   205, and § 29-20-205(1)(2)(3)(5)(6). Notice is here provided pursuant to TENN. CODE ANN. § 29-

   20-113, that upon dismissal, fees and costs shall be awarded when an individually-named

   Defendant, including Chief Turner, is dismissed.




                                                     3

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                                          ELEVENTH DEFENSE

             The Public Duty Doctrine is hereby affirmatively asserted as a bar to some or all of the

   asserted claims.

                                           TWELFTH DEFENSE

             It is averred that these Defendants did not owe a duty or special duty to any of the Plaintiffs

   by virtue of any theory of law and did not create any danger to any Plaintiff or the public.

                                         THIRTEENTH DEFENSE

              It is averred that the filing of the Complaint, Amended Complaint, or Second Amended

   Complaint is insufficient to toll the running of the statute of limitations, and the claims are time

   barred.

                                        FOURTEENTH DEFENSE

             These Defendants assert insufficiency of process and insufficiency of service of process,

   based on the failure to timely issue a summons and the failure to timely service these Defendants.

                           FIFTEENTH DEFENSE/COMPARATIVE FAULT

             As to any state law claim, it is affirmatively asserted that the negligent, reckless, gross

   negligence or intentional conduct of (1) Female 4; (2) Female 5; (3) Female 7; (4) Alvaro “Alvie”

   Fernandez Diaz; (4) Sean Williams or any alleged co-conspirators, of engaging in the conduct

   alleged in the Second Amended Complaint, including ¶¶ 18, 22, 23, 33, 34, 35, 38, 39, 55 were

   comparatively at fault and are subject to being joined as defendants as responsible parties for the

   injuries about which the Plaintiffs complain.

             It is further affirmatively asserted that any injuries and/or damages claimed by each

   individual plaintiff in this action must be viewed under the principles of modified comparative

   fault, as adopted by the State of Tennessee. To the extent it is shown that other parties and/or any



                                                       4

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   other person identified in this Second Amended Complaint, or the Dahl Complaint, caused or

   contributed to any individual plaintiff’s injuries or damages, any damages the Plaintiffs may

   recover must be reduced and/or diminished by the percentage of fault attributable to such other

   persons.

             These Defendants affirmatively assert that any injuries sustained by any Plaintiff or class

   members could have only come about as the result of the acts of the alleged perpetrators identified

   in the Plaintiffs’ Second Amended Complaint. The trier of fact should be allowed to consider the

   actions of the alleged perpetrators identified in the Plaintiffs’ Second Amended Complaint as being

   the sole and proximate cause of any injuries or alleged injuries sustained by the individual

   Plaintiffs or class members. The trier of fact should be allowed to place percentages of fault on

   the alleged perpetrators that should mitigate and/or bar any recovery against these Defendants.

                                         SIXTEENTH DEFENSE
             It is affirmatively asserted that the Daigle Report and the opinion and conclusions

   contained therein are inadmissible pursuant to Fed. R. Civ. 26(b)(4)(D) and Rule 704 of the Federal

   Rules of Evidence.

                                       SEVENTEENTH DEFENSE

             These Defendants deny that Plaintiffs and/or putative class members satisfy the

   requirements of Rule 23 of the Federal Rules of Civil Procedure for the certification of a class

   and/or subclasses.

                                       EIGHTEENTH DEFENSE

             These Defendants deny Plaintiffs and/or putative class members were deprived of any

   right, privilege, or immunity granted or secured by the Constitution and/or laws of the United

   States.



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                                      NINETEENTH DEFENSE

          These Defendants deny Plaintiffs and/or putative class members can bring suit pursuant

   to 42 U.S.C. §1983 under a theory of respondeat superior. Defendants further aver that it cannot

   be liable to Plaintiffs and/or putative class members pursuant to 42 U.S.C. § 1983 because of the

   lack of any violation of that statute and/or because of the absence of any custom or policy which

   was the moving force behind a violation of that statute.

                                      TWENTIETH DEFENSE

          These Defendants assert that any actions taken by Defendants were based on neutral, non-

   discriminatory practices and policies, and/or that their practices and policies are not motivated by

   sex, gender, disability, or any other discriminatory animus.

                                    TWENTY-FIRST DEFENSE

          The Second Amended Complaint fails to state a claim, in whole or in part, upon which

   relief can be granted and, therefore, must be dismissed.

                                   TWENTY-SECOND DEFENSE

          These Defendants demand a jury of twelve (12) persons to try all issues joined in this cause,

   except for any GTLA issues, in which these Defendants demand a separate bench trial in

   accordance with the Tennessee Governmental Tort Liability Act. To the extent a twelve (12)

   person jury is not available in Federal Court, these Defendants assert that they should receive a

   jury of the maximum number of permissible jurors, and without limiting the foregoing, a jury of

   no fewer than eight (8).

                                    TWENTY-THIRD DEFENSE

          These Defendants specifically reserve the right to amend this pleading and plead further

   based upon the facts that become available during the discovery.



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                                     TWENTY-FOURTH DEFENSE

           With respect to Plaintiffs’ and/or putative class members’ claims for punitive damages,

   Defendants are governmental bodies of the State and are therefore immune from punitive damages.

                                       TWENTY-FIFTH DEFENSE

           These Defendants specifically reserve all defenses in law or equity, including, but not

   limited to, those defenses listed in Rules 8 and 12 of the Federal Rules of Civil Procedure, that

   may become available or known to it as discovery proceeds in this cause.

                                       TWENTY-SIXTH DEFENSE

           These Defendants hereby give notice to Plaintiffs as stated in this answer that they lack

   sufficient knowledge or information upon which to form a belief as to the truth of certain

   allegations contained in the Second Amended Complaint. Until These Defendants have availed

   themselves of the right of discovery, it cannot be determined whether or not all of the defenses set

   forth herein will be asserted at trial. These Defendants assert these defenses in order to preserve

   their rights to assert such defenses at trial and to give Plaintiffs notice of its intention to assert these

   defenses and avoid waiver of any defenses. These Defendants give notice that they may rely upon

   such other defenses as may become available or apparent during the course of discovery or further

   proceedings, and these Defendants reserve the right to amend this answer to assert such defenses.

                              TWENTY-SEVENTH DEFENSE/ANSWER

           The allegations contained in the unnumbered introductory paragraphs of the Second

   Amended Complaint are denied. These Defendants further maintain that the introductory

   paragraph fails to comply with Fed. R. Civ. P. 10(a), and it should be stricken from the Second

   Amended Complaint.




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                                   JURISDICTION AND VENUE

           1.     The statutory and constitutional grounds on which the Plaintiffs seek to base their

   claims are noted. It is denied any Plaintiffs are entitled to maintain any such claim against these

   Defendants.

           2.     Admitted this Court has jurisdiction as to all federal questions. These Defendants

   deny that this Court should consider supplemental jurisdiction pursuant to 28 USC § 1367,

   particularly with respect to any claims under the Tennessee Governmental Tort Liability Act, §

   29-20-205 and/or state common law. These Defendants aver that exclusive jurisdiction for GTLA

   claims is in the Circuit Court for Washington County, Tennessee. It is denied that supplemental

   jurisdiction as to state law claims should be considered by the Court until such time as it is

   determined that a viable federal claim exists.

           3.     Admitted.

                                               PARTIES

           4-6.   These Defendants are without sufficient knowledge or information sufficient to

   form a belief as to the truth of the allegations contained in Paragraphs 4 through 6.

           7.     It is admitted that Johnson City is a Tennessee governmental entity organized and

   existing under the laws of the State of Tennessee. The remaining allegations in Paragraph 5 contain

   legal conclusions to which no response is required, and none is given.

           8.     It is denied that Chief Turner currently resides in Johnson City, Tennessee, but

   admitted that he was the Chief of Police from February 17, 2018 to February 27, 2023, and that he

   was a law enforcement officer employed by Johnson City from May 8, 1991 until February 27,

   2023.

           9.     It is denied that Kevin Peters currently resides in Johnson City, but it is admitted



                                                    8

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   that he was employed as a Captain assigned to the Johnson City Police Department from July 4,

   2020 until February 27, 2023, and it is further admitted he was an employee of Johnson City

   assigned to its Police Department from January 2, 1991 to February 27, 2023.

          10.     Admitted.

          11.     It is denied that Justin Jenkins currently resides in Johnson City, Tennessee. The

   remaining allegations contained in paragraph 11 are admitted.

          12.      It is denied that Jeff LeGault currently resides in Johnson City, Tennessee. All

   other allegations in Paragraph 12 are admitted.

          13.     Admitted.

          14.     Paragraph 14 of the Second Amended Complaint makes no factual allegations and,

   therefore, no response is required or made.

          15.     Denied

          16.     Denied.

          17.     Denied.

                                     FACTUAL BACKGROUND

          18.     These Defendants are without knowledge or information sufficient to form a belief

   as to the truth of the allegations contained in paragraph 18.

          19-22. These Defendants can neither admit nor deny the allegations contained in

   Paragraphs 19 through 22 due to a lack of sufficient knowledge or information.

          23-37. These Defendants can neither admit nor deny the allegations contained in

   Paragraphs 23 through 37 due to a lack of sufficient knowledge or information.

          38-48. These Defendants can neither admit nor deny the allegations contained in

   Paragraphs 38 through 48 due to a lack of sufficient knowledge or information.



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        49-56. These Defendants can neither admit nor deny the allegations contained in

 Paragraphs 49 through 56 due to a lack of sufficient knowledge or information.

        57-61. Denied.

        62.     It is admitted that, sometime around August and September of 2023, someone

 began posting to Sean Williams’ Facebook account. These Defendants can neither admit nor deny

 the allegations regarding who posted to Williams’ Facebook page and how they posted to

 Williams’ Facebook page due to a lack of sufficient knowledge or information.

        63.     These Defendants admit that someone posted to Sean Williams’ Facebook page on

 or about September 1, 2023, and the post says what it says. These Defendants deny the validity of

 the referenced Facebook post. The Defendants further specifically deny that Defendant Sparks was

 engaged in an extortion scheme with Williams and/or his company. The remaining allegations in

 Paragraph 63 are denied.

        64.     These Defendants admit the allegations contained in Paragraph 64. These

 Defendants further aver that based on available evidence developed during JCPD’s investigation,

 Female 3’s fall was accidental.

        65.     In response to the allegations regarding a Facebook post made to Williams’

 Facebook page, these Defendants acknowledge that the post says what it says. These Defendants

 deny the underlying statements made in the post, including the existence of an extortion scheme

 between JCPD officers and Williams.

        66.     Upon information and belief, the document referenced in this paragraph makes

 statements similar to those herein, but the allegation in the Second Amended Complaint omits that

 the document states that Williams was already with another officer, and that Sparks and Jenkins

 wanted to join. However, these responding Defendants are without sufficient knowledge or



                                                10

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                                   2112
 information to admit or deny the truth of the allegations.

        67.     Denied, as stated. Admitted only to the extent it is correct Sparks and Jenkins were

 not first on the scene, removed Williams from the scene to be interviewed at police headquarters

 and seized Williams’ cellphone. Any remaining allegation is denied.

        68.     Responding to the allegations in Paragraph 68, these Defendants admit that Sparks

 escorted Williams to JCPD headquarters to be interviewed. The remaining allegations in Paragraph

 68 are denied as written. According to the referenced document, Williams was left alone in the

 interview room, with the door open, for approximately three minutes while Inv. Jenkins obtained

 paperwork. It is denied that this section of the referenced document states that Williams

 manipulated his cell phone.

        69.     These Defendants are without knowledge or information sufficient to form a belief

 as to the truth of the allegations contained in Paragraphs 69

        70.     These Defendants admit that Detective Sparks applied for a search warrant on the

 date and time referenced in Paragraph 70. In further response to Paragraph 70, Defendants state

 aver that the search warrant speaks for itself.

        71.     Upon information and belief, the document referenced in this paragraph includes

 statements similar to those described herein. Upon information and belief, the cameras in question

 were taken down during the time a search warrant was being obtained to allow the seizure.

        72.     It is admitted that a JCPD officer obtained a search warrant and seized various items

 from Williams’s apartment. Due to a lack of information or belief, it is neither admitted nor denied

 at this time if the specific items listed in Paragraph 72 were seized. It is admitted that some digital

 devices were seized.

        73.     It is admitted that certain digital devices remained in the custody of JCPD for more



                                                   11

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                                   2113
 than two (2) years without being searched because a sufficient probable cause basis could not be

 established at the time based on the advice provided by involved legal counsel from the U.S.

 Attorney’s Office.

        74.     Denied as stated. The content on the devices seized by JCPD officers during the

 investigation of a person falling out a window is unknown, and therefore, cannot be admitted or

 denied at this time.

        75.     Denied, as stated. It is admitted officers photographed a handwritten note reflecting

 a list of first names of individuals under the heading “raped.” These Defendants are without

 sufficient knowledge or information to admit or deny if the Plaintiffs’ first names match any first

 names on the list or if any such Plaintiff reported her assault to JCPD so as to allow JCPD to

 determine if a match exists.

        76.     These Defendants cannot admit or deny the allegation contained in Paragraph 76 at

 this time due to a lack of knowledge or information.

        77.     Admitted.

        78.     In response to the allegations contained in Paragraph 78, these Defendants deny

 that Female 3 was capable of communicating with officers until a few weeks after her fall, and at

 that time reported she had no memories of the events leading up to her fall. Thereafter, Female 3

 has spoken to the media and others and stated that she thinks she may have been drugged before

 falling. However, to date no evidence has been discovered supporting she was drugged. Moreover,

 only recently has someone come forward saying he thinks he saw her pushed out the window,

 contrary to the statement made by Female 3’s friend who was with her at the time she fell out the

 window.

        79.     Admitted.



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                                   2114
        80.     Denied.

        81.     These Defendants admit that JCPD officers seized a safe on September 19, 2020.

 These Defendants can neither admit nor deny the remaining allegations contained in Paragraph 81

 due to a lack of sufficient knowledge or information.

        82.     Upon information and belief, the document referenced in this paragraph includes

 statements similar to those described herein. It is denied the allegations contained in this Paragraph

 state a claim for relief against these responding Defendants.

        83.     Upon information and belief, the second search warrant referenced in Paragraphs

 82 and 83 includes statements similar to those described herein.

        84.     At this time, these Defendants can neither admit nor deny the allegations contained

 in Paragraph 84 due to a lack of knowledge or information.

        85.     Denied.

        86.     These Defendants admit that someone posted to Sean Williams’ Facebook page and

 made statements similar to those alleged in Paragraph 86. These Defendants deny the validity of

 the referenced Facebook post. The Defendants further specifically deny that any JCPD officers

 seized any cash from Williams’ safe.

        87.     Denied.

        88.     Responding to the allegations contained in Paragraph 88, these Defendants deny

 that JCPD officers participated in and/or benefited financially from Williams’ alleged sex

 trafficking conspiracy. At this time, these Defendants can neither admit nor deny the remaining

 allegations in Paragraph 88 due to a lack of knowledge or information.

        89-94. At this time, these Defendants can neither admit or deny the allegations contained

 in Paragraphs 89 through 94 due to a lack of knowledge or information.



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                                   2115
        95.     It is admitted that in November, 2019, a female reported she had been raped by

 Sean Williams and a case file was opened and an investigation initiated. Otherwise, the allegations

 are denied.

        96.     These Defendants can neither admit nor deny the allegations contained in Paragraph

 96 due to a lack of sufficient knowledge or information.

        97.     These Defendants can neither admit nor deny the allegations contained in Paragraph

 97 due to a lack of sufficient knowledge or information.

        98.     These Defendants can neither admit nor deny the allegations contained in Paragraph

 96 due to a lack of sufficient knowledge or information. However, it is averred that Officer Proffitt

 took a statement and took custody of the rape kit at the Johnson City Medical Center.

        99.     The allegations contained in Paragraph 99 are denied as written. It is specifically

 denied that prior to November of 2019 Officer Proffitt was aware of prior complaints of sexual

 assault by Williams.

        100.    It is admitted Officer Proffitt obtained B.P.’s clothes. These Defendants further

 admit that B.P. was not provided with a receipt for her clothes. These Defendants deny that B.P.’s

 clothes were placed in a garbage bag.       These Defendants deny any remaining allegations in

 Paragraph 100.

        101. The allegations contained in Paragraph 101 are denied in part. These Defendants aver

 that, after B.P. made her initial sexual assault report, she repeatedly failed to call the JCPD

 investigator assigned to her case back, and she missed at least two scheduled appointments with

 the investigator in November of 2019. These Defendants admit that, in March of 2021, B.P.

 responded to a call from a JCPD investigator and stated that she wanted to press charges against

 Williams. These Defendants deny the remaining allegations set forth in Paragraph 101.



                                                  14

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        102.    Denied. After B.P. indicated in March of 2021 that she wanted to press charges, a

 JCPD investigator spoke to her on April 13, 2021 and attempted to call her on April 22, 2021. B.P.

 did not answer, so the investigator left her a message. The JCPD investigator also scheduled a

 meeting with B.P. for April 20, 2021, but B.P. was a no-show for the meeting.

        103.    The allegations contained in Paragraph 103 are denied as written. These Defendants

 are not aware of a sexual assault report made by Female 9.

        104.    These Defendants can neither admit nor deny the allegations contained in Paragraph

 104 due to a lack of sufficient knowledge or information.

        105.    Responding to the allegations contained in Paragraph 105, these Defendants admit

 that officers encountered Female 2 outside of Williams’ building. These Defendants can neither

 admit nor deny the remaining allegations contained in Paragraph 105 due to a lack of sufficient

 knowledge or information.

        106.    Denied.

        107.    It is admitted that Female 2 came to JCPD headquarters on December 15, 2020,

 and provided a statement. It is denied she reported she had been raped.

        108.    Admitted.

        109-113.       At this time, these Defendants can neither admit or deny the allegations

 contained in Paragraphs 109 through 113 due to a lack of knowledge or information.

        114.    Admitted.

        115.    At this time, these Defendants can neither admit or deny the allegations contained

 in Paragraph 115 due to a lack of knowledge or information.

        116-118.          At this time, these Defendants can neither admit or deny the allegations

 contained in Paragraphs 116 through 118 due to a lack of knowledge or information.



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                                   2117
        119.    Upon information and belief, the allegations contained in Paragraph 119 are

 admitted.

        120-128.       At this time, these Defendants can neither admit nor deny the allegations

 contained in Paragraphs 120 through 128 due to a lack of knowledge or information, including the

 identity of the JCPD officers referenced in said paragraphs.

        129.           Admitted.

        130-133.       At this time, these Defendants can neither admit or deny the allegations

 contained in Paragraphs 130 through 133 due to a lack of knowledge or information.

        134.    Admitted the FBI notified JCPD and Investigator Sparks responded.

        135.    Admitted.

        136.    Denied, as stated. It is admitted Female 12 was interviewed at the JCPD offices

 regarding her sexual assault allegations. These Defendants deny the remaining allegations set forth

 in Paragraph 136.

        137.    These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 137.

        138.    It is admitted that no charges have been brought against Williams for the sexual

 assault reported by Female 12. The remaining allegations contained in Paragraph 138 can neither

 be admitted nor denied due to a lack of knowledge or information.

        139.    These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 139.

        140.    In response to the allegations contained in Paragraph 140, it is admitted that on or

 about November 7, 2019, an investigation was opened as to one potential rape complaint involving

 Williams. It is denied Defendant Sparks was made aware of the rape report involving Williams in



                                                 16

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                                   2118
 November of 2019. The remaining allegations contained in Paragraph 140 are denied as written.

        141.    The allegations contained in Paragraph 141 are denied as written.

        142.    Denied as stated.

        143.    Denied.

        144.    Denied.

        145.    It is denied Defendant Sparks contacted B.P. in May of 2021. These Defendants

 aver that Defendant Sparks contacted B.P. in March of 2021, the day after Sparks became aware

 of the rape kit’s return. It is admitted that B.P.’s case was assigned to Defendant Sparks in 2021

 and that Sparks was not a member of a Special Victim’s Unit.

        146.    Denied.

        147.    The allegations in the first sentence of Paragraph 147 can neither be admitted nor

 denied due to a lack of knowledge or information. The allegations contained in the second sentence

 of Paragraph 147 are admitted.

        148.    Denied.

        149.    Denied.

        150.    The allegations in Paragraph 150 can neither be admitted nor denied due to a lack

 of knowledge or information.

        151.    These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 151.

        152.    Responding to the allegations contained in Paragraph 152, it is admitted that B.P.

 told Defendant Sparks that she wanted to talk to her father before she made a decision regarding

 pressing charges against Williams. These Defendants admit that B.P. later called Defendant Sparks

 and indicated that she wanted to press charges. These Defendants deny the allegations contained



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                                   2119
 in the last sentence of Paragraph 152. These Defendants aver that B.P. failed to show up for a

 scheduled interview with Sparks and did not return his message.

            153.   The allegations contained in the first sentence of Paragraph 153 are admitted. These

 Defendants are without sufficient knowledge or information to admit or deny the allegations

 contained in the second sentence of Paragraph 153.

            154.   The allegations contained in the first sentence of Paragraph 154 are denied as stated.

 Responding to the allegations contained in the second sentence of Paragraph 154, these Defendants

 deny that Sparks is a defendant in the Dahl case. The remaining allegations in Paragraph 154 are

 denied as stated.

            155.   Admitted, to the extent of avoiding any appearance of impropriety in the criminal

 case.

            156.   It is admitted that on November 12 or 13, 2020, Det. Sparks presented a potential

 felon in possession of ammunition case against Williams to SAUSA Dahl for her review with a

 request for her assistance in obtaining an indictment. Denied it is unusual or carries a minimal

 sentence.

            157.   The commentary contained in Paragraph 157 makes no factual allegations against

 these responding Defendants or any Johnson City Police Department officer and therefore no

 response is required or made. To the extent a response may be required, these Defendants aver

 that it an equally plausible reason law enforcement officers were seeking a criminal charge against

 Williams was to apprehend him and achieve a conviction that included incarceration such that

 women might come forward without fear of retaliation as to claims against Williams for sexual

 assault.

            158.   Admitted Dahl made statements or similar statements of her intentions regarding



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                                   2120
 Williams and JCPD acquiesced in her proposal to delay and build a broader case. These

 Defendants incorporate by reference their answer to these allegations made by Plaintiff Dahl in

 her litigation.

         159.      The allegations contained in Paragraph 159 are a statement of law to which no

 response is required. To the extent a response may be required, these Defendants do not have

 sufficient knowledge at this time to admit or deny if Dahl’s alleged investigation while working

 as a “SAUSA” encompassed facts constituting a sex trafficking conspiracy as described.

         160.      Denied.

         161-173.         These Defendants admit Dahl made the yet to be adjudicated allegations

 and these Defendants incorporate by reference their Answer and pending dispositive motion and

 reply to these allegations made by Plaintiff Dahl in her lawsuit.

         174.      Denied.

         175-177.         These Defendants are without sufficient knowledge or information to admit

 or deny the allegations contained in Paragraphs 175 through 177.

         178.      The allegations contained in Paragraph 178 are denied as stated. These Defendants

 maintain that the arrest documentation for Female 9 and her male companion speaks for itself.

 These Defendants further aver that on or about May 31, 2023, Female 9 plead guilty to resisting

 stop, arrest, search and simple possession/casual exchange following her arrest on April 19, 2023.

         179.      The allegations contained in Paragraph 179 are denied as stated. The arrest

 documentation and guilty plea for Female 9 and her male companion speaks for itself.

         180.      The allegations contained in Paragraph 179 are denied as stated. The arrest

 documentation and guilty plea for Female 9 and her male companion speaks for itself. These

 Defendants further affirmatively aver that Female 9 plead guilty to resisting stop, arrest, search



                                                  19

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 and simple possession/casual exchange.

           181.   These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 181.

           182.   These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 182.

           183.   It is admitted that Defendant LeGault, as a supervisor, signed off on the report

 documenting Female 9’s arrest on April 19, 2023. The remaining allegations in Paragraph 183 are

 denied.

           184-227.      These Defendants admit the Daigle Group was engaged to conduct an audit

 of JCPD sexual assault investigative files during the period of January 2018 through December of

 2022. It is denied the City’s policies, or the training provided to its officers, failed to comply with

 Tennessee law or the United States Constitution. Any remaining allegations in the referenced

 paragraphs in the Second Amended Complaint not specifically addressed are neither admitted nor

 denied at this time due to a lack of sufficient information.

           228.   It is denied the Dahl Complaint was filed in 2021. It is admitted that Dahl made

 allegations which have not been adjudicated, and these Defendants incorporate by reference their

 Answer to these allegations made by Plaintiff Dahl in her lawsuit and the dispositive motion and

 reply and exhibits now pending before the court. The allegations contained in the second

 grammatical sentence of Paragraph 228 are denied.

           229.   Upon information and belief, the allegations contained in Paragraph 229 are

 admitted.

           230.   Denied.

           231.   It is admitted that in November, 2019, a female reported she had been raped by



                                                   20

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 Sean Williams and a case file was opened and an investigation initiated. Otherwise, the allegations

 are denied.

        232.       Denied.

        233.       Denied,

        234.       Denied as stated in that the allegation lacks any reference to a timeframe.

        235.       These Defendants cannot admit or deny the allegations contained in Paragraph 235

 due to a lack of sufficient knowledge or information.

        236.       Denied.

        237.       Denied.

        238.       Denied.

        239.       Denied.

        240.       Denied.

        241.       Denied.

        242.       Denied.

        243.       Denied.

        244.       Denied.

        245.       Denied.

        246.       Denied.

        247.       Denied.

        248.       Denied.

        249.       Denied.

        250.       These Defendants are without sufficient knowledge or information to admit or deny

 the allegation.



                                                    21

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        251.    These Defendants are without sufficient knowledge or information to admit or deny

 the allegations contained in Paragraph 251 as to what B. P and H.A., and others, learned or

 believed. However, to the extent the allegations contained in this paragraph attempt to allege that

 the Plaintiffs’ statute of limitations began to run on June 23, 2022, then such allegations are denied.

        252.    These Defendants are without knowledge or information to admit or deny the

 allegations contained in Paragraph 252 as to Plaintiffs’ and class members’ belief. However, to the

 extent the allegations contained in this paragraph attempt to allege that the Plaintiffs’ statute of

 limitations began to run on June 23, 2022, then such allegations are denied.

        253.    These Defendants are without knowledge or information to admit or deny the

 allegations contained in Paragraph 253 as to the Plaintiffs’ and class members’ lack of awareness.

 However, to the extent the allegations contained in this paragraph attempt to allege that the

 Plaintiffs’ statute of limitations began to run on June 23, 2022, then such allegations are denied.

        254.    It is denied that the Dahl Complaint revealed any factual evidence directed to the

 allegations contained in Paragraph 254. Any remaining allegations contained in Paragraph 254 are

 likewise denied to the extent the allegations in this paragraph attempt to allege that the Plaintiffs’

 statute of limitations began to run on June 23, 2022.

        255.    These Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 255 as to what the Plaintiffs and class members knew or had

 reason to know.    However, to the extent the allegations contained in this paragraph attempt to

 allege that the Plaintiffs’ statute of limitations began to run on June 23, 2022, then such allegations

 are denied. It is also denied that the Plaintiffs have suffered a constitutional injury due to the

 actions or inactions of these responding Defendants.

        256.    These Defendants can neither admit nor deny the allegations contained in Paragraph



                                                   22

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 256 due to a lack of sufficient knowledge or information.

        257.    It is denied that the Dahl Complaint revealed any factual evidence directed to the

 allegations contained in Paragraph 257. Any remaining allegations contained in Paragraph 257 are

 likewise denied to the extent the allegations in this paragraph attempt to allege that the Plaintiffs’

 statute of limitations began to run on June 23, 2022. It is further specifically denied that these

 Defendants deprived Plaintiffs of their rights, constitutional or otherwise.

        258.    Denied.

        259-277.        These Defendants lack sufficient knowledge or information to admit or

 deny the allegations contained in Paragraphs 259-276.

                278.    These Defendants lack sufficient knowledge or information to admit or

 deny the allegations contained in Paragraph 278.

        279.    Admitted.

        280 – 290.      These Defendants lack sufficient knowledge or information to admit or

 deny the allegations contained in Paragraphs 280 – 290.

        291.    Upon information and belief, as of the date of this Answer, admitted.

        292.    These Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 292.

        293.    These Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 293. However, to the extent the allegations contained in this

 paragraph attempt to allege that the Plaintiffs’ statute of limitations began to run on July 18, 2023,

 then such allegations are denied. It is also denied that the Plaintiffs have suffered a constitutional

 injury due to the actions or inactions of these responding Defendants.

        294.    These Defendants lack sufficient knowledge or information to admit or deny the



                                                  23

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 allegations contained in Paragraph 294. However, to the extent the allegations contained in this

 paragraph attempt to allege that the Plaintiffs’ statute of limitations began to run on August 26,

 2023, then such allegations are denied. It is also denied that the Plaintiffs have suffered a

 constitutional injury due to the actions or inactions of these responding Defendants.

        295.    These Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 295. However, to the extent the allegations contained in this

 paragraph attempt to allege the class members’ statute of limitations did not begin to run prior to

 the filing of the Complaint, such allegations are denied.

        296.     These Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 296. However, to the extent the allegations contained in this

 paragraph attempt to allege that the Plaintiffs’ statute of limitations began to run on July 18, 2023,

 then such allegations are denied.

        297.    Denied.

                                CLASS ACTION ALLEGATIONS

        298.    The allegations set forth in Paragraph 298 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that a class and/or subclasses should be certified or meet the requirements

 of Fed. R. Civ. P. 23 or applicable case law, and thus all allegations in Paragraph 298 are denied.

        299.    The allegations set forth in Paragraph 299 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that a “Sex Trafficking Survivor Class” should be certified or meets the

 requirements of Fed. R. Civ. P. 23 or applicable case law, or that they have viable causes of action

 described, and thus all allegations in Paragraph 299 are denied.



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        300.    The allegations set forth in Paragraph 300 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that a “Williams Survivor Subclass” should be certified or meets the

 requirements of Fed. R. Civ. P. 23 or applicable case law, or that they have viable causes of action

 described, and thus all allegations in Paragraph 300 are denied.

        301.    The allegations set forth in Paragraph 301 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that a “Reporter Survivor Class”” should be certified or meets the

 requirements of Fed. R. Civ. P. 23 or applicable case law, or that they have viable causes of action

 described, and thus all allegations in Paragraph 301 are denied.



        302.    The allegations set forth in Paragraph 302 are an attempt by Plaintiffs to reserve

 certain rights to modify the classes, and thus no response from these Defendants is required or

 necessary as any rights afforded Plaintiffs in this regard is controlled by applicable law. If an

 answer is deemed necessary, these Defendants deny that Plaintiffs have a right to seek modification

 of the purported classes, including expanding the relevant time period for the purported “Reporter

 Survivor Class”, except as is consistent with federal case law and leave of this Court.

        303.    The allegations set forth in Paragraph 303 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that the purported Class or Subclasses satisfy the numerosity requirement

 of Fed. R. Civ. P. 23.

        304.    The allegations set forth in Paragraph 304 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,



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 these Defendants deny that questions of law and fact common to class members predominate as is

 required under Fed. R. Civ. P. 23.

        305.    The allegations set forth in Paragraph 305 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that common evidence supports class treatment for Plaintiffs’ equal

 protection claims as required by Fed. R. Civ. P. 23, or that Plaintiffs’ have viable causes of actions

 against these Defendants for violating Plaintiffs’ constitutional rights. To the extent Paragraph 305

 is construed as containing factual allegations, the allegations are denied.

        306.    The allegations set forth in Paragraph 306 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that common evidence supports class treatment of these claims consistent

 with the requirements of Fed. R. Civ. P. 23. To the extent Paragraph 306 is construed as containing

 factual allegations, the allegations are denied.

        307.    The allegations set forth in Paragraph 307 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that common evidence supports class treatment of these claims consistent

 with the requirements of Fed. R. Civ. P. 23. To the extent Paragraph 306 is construed as containing

 factual allegations, the allegations are denied.

        308.    The allegations set forth in Paragraph 308 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that the purported Class or Subclasses satisfy the typicality requirement of

 Fed. R. Civ. P. 23.

        309.    The allegations set forth in Paragraph 309 are statements of law, not fact, and thus



                                                    26

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 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that the certification of classes is appropriate, including for reasons

 involving the adequacy of representation of the purported Class and/or Subclasses by the

 individual Plaintiffs or that Plaintiffs satisfy the requirement of Fed. R. Civ. P. 23 in this regard.

 These Defendants lack knowledge or information sufficient to form a belief as to the truth of the

 matters asserted in the second and third sentence of Paragraph 309.

        310.    The allegations set forth in Paragraph 310 are statements of law, not fact, and thus

 no response from these Defendants is required or necessary. If an answer is deemed necessary,

 these Defendants deny that a class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy. These Defendants deny the third sentence of Paragraph

 310. These Defendants lack knowledge or information sufficient to form a belief as to the truth of

 the matters asserted in the second sentence of Paragraph 310.

                                              COUNT I

        311.    These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

        312.    The existence of the statute cited is admitted. It is denied that the Plaintiffs may

 properly bring such a claim pursuant to said statute. It is specifically denied that these Defendants

 are liable to the Plaintiffs by virtue of this statute or any other theory of law, whatsoever. It is

 further denied that these Defendants received, or that any Defendant received, any financial

 benefits or participated in any such venture as alleged in this paragraph.

        313.    Denied.

        314.    The allegations contained in Paragraph 314 are denied as written. These Defendants

 deny that they, or any Defendant, mishandled rape reports in exchange for payments.



                                                  27

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        315.    Denied.

        316.    Denied.

        317.    Denied.

        318.    Denied.

        319.    Denied.

        320.    Denied.

        321.    Denied.

        322.    Denied.

        323.    Denied.

        324.    Denied.

        325.    Denied.

        326.    Denied.

                                              COUNT II

        327.    These responding Defendants incorporate by reference their previous responses and

 defenses to all allegations heretofore asserted.

        328.    The existence of the statutes cited are admitted. It is denied that these Defendants

 are liable to the Plaintiffs by virtue of any of these statutes or any other theory of law.

        329(a)-(g).     Denied.

        330-337.        Denied.

                                              COUNT III

        338.    These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

        339.    The existence of the statutes cited are admitted. It is denied that these Defendants



                                                    28

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 are liable to the Plaintiffs by virtue of any of these statutes or any other theory of law.

        340-354.        Denied.

                                              COUNT IV

        355.    These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

        356.    The existence of the statutes cited are admitted. It is denied that Defendants are

 liable to the Plaintiffs by virtue of any of these statutes or any other theory of law.

        357-366.        Denied.

                                              COUNT V

        367.    These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

        368.    The allegations in Paragraph 368 assert a legal conclusion without sufficient facts

 or context to support its premise. To the extent the Plaintiffs are asserting claims and allegations

 against these Defendants it is admitted only that these Defendants were acting under color of law.

 It is specifically denied that Johnson City maintained an unconstitutional policy or custom.

        369(a)-(f).     Denied.

        370-373.        Denied.

        374.    Denied.

        375.    The allegations contained in Paragraph 375 fail to state a claim upon which relief

 can be granted against these Defendants. To the extent the Plaintiffs are asserting claims and

 allegations against these Defendants in this paragraph, then these Defendants are without

 knowledge or information to admit or deny the allegations.

        376.    These Defendants are without knowledge or information to admit or deny the



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 allegations contained in Paragraph 376 involving injuries they may have suffered due to their

 encounters, involvement with and/or affiliation with Sean Williams, Alvaro “Alvie” Diaz Vargus,

 Female 4, Female 5, or others. These Defendants deny that they caused the Plaintiffs to sustain

 any of the injuries alleged in this paragraph of the Amended Complaint.

         377.     Denied.

         378.     Denied.

         379.     Denied.

         380.     Denied.

         381.     Denied.

                                                   COUNT VI

         382.     These Defendants incorporate by reference their responses and defenses to all

 allegations heretofore asserted.

         383.     The allegations contained in Paragraph 383 assert a statement of law to which no

 response is required or made. To the extent a response may be required, the assertion is denied. It

 is specifically denied that the Plaintiffs have suffered a constitutional injury due to the actions or

 inactions of these Defendants.

         384-388.          Denied.

                                                 COUNT VIII 2

         389.     These Defendants incorporate by reference the responses and defenses to all

 allegations heretofore asserted.

         390-394.          Denied.

                                                   COUNT IX


 2
   The Plaintiffs have misnumbered their “Claims” and skipped from “Count VI” to “Count VIII.” To maintain
 consistency with the allegations made by the Plaintiffs, these Defendants will utilize the Plaintiffs’ misnumbering.

                                                         30

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           395.   These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

           396.   The allegation contained in Paragraph 396 asserts a statement of law to which no

 response is required or made. To the extent the Plaintiffs are asserting claims and allegations

 against these Defendants in paragraph 396 that these Defendants breached a duty of care owed to

 the Plaintiffs, then such claims and allegations are denied.

           397-408.      Denied.

                                             COUNT X

           409.   These Defendants incorporate by reference their previous responses and defenses

 to all allegations heretofore asserted.

           410.   The allegation contained in Paragraph 410 asserts a statement of law to which no

 response is required or made. To the extent the Plaintiffs are asserting claims and allegations

 against these Defendants in paragraph 410 that these Defendants breached a duty of care owed to

 the Plaintiffs, then such claims and allegations are denied.

           411.   The allegation contained in Paragraph 411 asserts a statement of law to which no

 response is required or made. To the extent the Plaintiffs are asserting claims and allegations

 against these Defendants in paragraph 411 that these Defendants breached a duty of care owed to

 the Plaintiffs, then such claims and allegations are denied.

           412-423.      Denied.

                                       RELIEF REQUESTED

           These Defendants admit that a jury demand has been made and is available in this case.

 These Defendants deny that Plaintiffs are entitled to any other relief requested in the prayer for

 relief.



                                                  31

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        Now having fully responded to the Amended Complaint, these Defendants would ask that

 the cause be docketed for further proceedings. Any allegation not heretofore expressly admitted

 is denied.

        Respectfully submitted this 15th day of March, 2023.

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                                                    his official capacity




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                                  CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed electronically. Notice of this filing
 will be sent by operation of the Court's electronic filing system to all parties indicated on the
 electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may access
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